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STONE PiIGMAN WALTHER WITTMANN t.t.c.

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July 13, 2011

Honorable Carl J. Barbier

Judge, United States District Court
Eastern District of Louisiana, Section "J"
500 Poydras Street, Room C-256

New Orleans, Louisiana 70130

Re: Guy Adams v. Louisiana
Department of Natural Resources, et al.
No, 11-cv-01051 c/w
MDL 2179

Dear Judge Barbier:

We write in response to Mr. D'Amico's letter of July 11, 2011 concerning the

motion to remand that is pending in the subject suit, which has been consolidated into MDL
2179. No response to that motion was required of Cameron or any other party in the suit
pursuant to Pre-Trial Order No. 15, issued in MDL 2179. PTO 15 expressly provides that all
pending and future motions, including motions to remand, are continued without date and that no
responses to motions are due until two weeks before the hearing date set by the Court.

do 80.

PAW:cmb

Cameron will file an opposition to the motion whenever required by the Court to

Please let us know if the Court has any questions of Cameron in this regard.
Thank you for your consideration.

Respectfuily yours,

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Phillip A, Wittmann.

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STONE PIGMAN WALTHER WITTMANN L.L.c.

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July 13, 2011

ce: Mr, Frank D'Amico
Defense Liaison Counsel
Defense Steering Committee
Plaintiff's Liaison Counsel
Mr. R. Michael Underhill
Mr, Luther Strange
Mr. Corey L, Maze
Ms. Mary Rose Alexander
Ms. Kat Shea
Mr. Michael O'Keefe

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